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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

   Securities & Exchange Commission,                              Case No.: 9:20-cv-81205-RAR

                  Plaintiff,

   v.

   Complete Business Solutions
   Group, Inc.,

                  Defendant.
                                          /

                      MOTION TO APPEAR PRO HAC VICE,
                  CONSENT TO DESIGNATION, AND REQUEST TO
            ELECTRONICALLY RECEIVE NOTICES OF ELECTRONIC FILING

          In accordance with Local Rule 4(b) of the Rules Governing the Admission, Practice, Peer

   Review, and Discipline of Attorneys of the United States District Court for the Southern District

   of Florida, the undersigned respectfully moves for the admission pro hac vice of Clifford E.

   Haines, Esq., of the law firm of Haines and Associates, The Widener Building, 5th Floor,

   Philadelphia, Pennsylvania 19107, Telephone No. (215) 246-2200, for purposes of appearance in

   the above-styled case only, as counsel on behalf of non-parties Mark Nardelli, Francis Cassidy,

   David Gollner and Christopher McMarrow, who have been subpoenaed to testify by plaintiff in

   the above-styled case, and pursuant to Rule 2B of the CM/ECF Administrative Procedures, to

   permit Clifford E. Haines to receive electronic filings in this case, and in support thereof, states

   as follows:

          1.      Clifford E. Haines, Esq. is not admitted to practice in the Southern District of

   Florida, and is a member in good standing of The Pennsylvania Bar, The Philadelphia Bar, and

   the United States District Court for the Eastern District of Pennsylvania.
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         2.         Movant, Jonathan E. Minsker, of the law firm of Minsker Law PLLC, 1100

  Biscayne Blvd., Ste 3701, Miami, Florida 33132, Telephone No. (786) 988-1020, is a member in

  good standing of, among other bars, The Florida Bar and the United States District Court for the

  Southern District of Florida, and is authorized to file through the Court’s electronic filing system.

  Movant consents to be designated as a member of the Bar of this Court with whom the Court and

  opposing counsel may readily communicate regarding the conduct of the case, upon whom filings

  shall be served, who shall be required to electronically file and serve all documents and things

  that may be filed and served electronically, and who shall be responsible for filing and serving

  documents in compliance with the CM/ECF Administrative Procedures. See Section 2B of the

  CM/ECF Administrative Procedures.

        3.      In accordance with the local rules of this Court, Clifford E. Haines, Esq. has made

 payment of this Court’s $213.00 admission fee. A certification in accordance with Rule 4(b) is

 attached hereto.

        4.      Movant hereby requests, pursuant to Section 2B CM/ECF Administrative

 Procedures, that the Court provide Notice of Electronic Filings to Clifford E. Haines at email

 address: chaines@haines-law.com.

        5.      A proposed Order granting this motion is attached hereto.

        WHEREFORE, Jonathan E. Minsker, respectfully requests that this Court enter an Order

 permitting Clifford E. Haines, Esq. to appear before this Court on behalf of non-parties Mark

 Nardelli, Francis Cassidy, David Gollner and Christopher McMarrow, for all purposes relating to




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 the proceedings in the above-styled matter and directing the Clerk to provide notice of electronic

 filings to Clifford E. Haines, Esq.

 Date: December 23, 2021                               Respectfully submitted,



                                                       /s/ Jonathan E. Minsker
                                                       Jonathan E. Minsker
                                                       Florida Bar No. 38120
                                                       MINSKER LAW PLLC
                                                       1100 Biscayne Blvd., Ste. 3701
                                                       Miami, Florida 33132
                                                       Telephone: (786) 988-1020
                                                       jminsker@minskerlaw.com

                                                       Counsel for Non-Parties Mark Nardelli,
                                                       Francis Cassidy, David Gollner and
                                                       Christopher McMarrow




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                                  CERTIFICATE OF SERVICE

         I hereby certify that, on December 23, 2021, a true and correct copy of the foregoing
  Motion to Appear Pro Hac Vice, Consent to Designation, and Request to Electronically Receive
  Notices of Electronic Filing was served via the Court’s ECF system on all counsel of record.



                                                       /s/ Jonathan E. Minsker
                                                       Jonathan E. Minsker




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